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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

KURT RILLEMA, an individual,
                                            Case No. 2:23-cv-12042-JJCG-APP
                Petitioner,                 Hon. Jonathan J.C. Grey
                                            Mag. Judge Anthony P. Patti
v.

BEAUREGARD MAXIMILLIAN
HARVEY, and individual,

          Respondent.
__________________________________________________________________

           PETITIONER KURT RILLEMA’S RESPONSE TO
     RESPONDENT’S PENDING MOTIONS AND APPLICATIONS FOR
             RELIEF, ECF NOS. 37, 38, 39, 43, 53, and 54

          The Court should deny all of Respondent Beauregard Maximillian Harvey’s

pending motions and applications for relief, and enjoin him from making further

filings without leave of the Court or the conclusion of the pending arbitration.

     I.      INTRODUCTION

          This is an action to compel arbitration. On September 11, 2023, the Court

granted Petitioner Kurt Rillema’s motion to compel arbitration, appointed an

arbitrator, and stayed proceedings in this case until the arbitration is completed.

ECF No. 21. The Court explained that “[b]ased on the expansive language in the

arbitration clause (i.e.,‘[a]ny dispute, controversy or claim arising out of or in

connection with this Agreement or any breach or alleged breach hereof’), the Court
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finds all matters alleged by Harvey or asserted by Rillema come within the scope

of the Arbitration provision. Accordingly, the Court concludes that all such matters

are subject to resolution by arbitration, not by a court of law.” 9/11/23 Order, ECF

21, PageID.502. The Court administratively closed the case. Id. at PageID.504.

      In the same Order, the Court denied as moot Harvey’s omnibus motion

seeking to strike the Complaint, dissolve the TRO, and hold a hearing, because the

Court determined that the issues in this case shall be arbitrated. Id. at PageID.502-

03. Nonetheless, Harvey has filed a Motion for Turnover of Funds Illegally

Collected by Plunkett Cooney and for Protective Order, ECF 37, Motion to

Reactivate Case for Failure to Arbitrate and Default Judgment, ECF 38,

Emergency Motion for Temporary Restraining Order to Enjoin Petitioner and

Arbitrator from Taking Any Further Action Until Further Order of the Court, ECF

39, Demand for Trial, ECF No. 42, Motion for Evidence Supporting Findings of

Fact Pursuant to FRCP52(a)(5) for Order Compelling Arbitration, ECF 43, Motion

to Disqualify Counsel, ECF No. 53, an Application to Close Arbitration, ECF 54,

and three appeals, ECF Nos. 31, 44, and 46.

      With respect to all of the above motions, Harvey filed an appeal before

response briefs were due divesting this Court of jurisdiction. The Sixth Circuit

recently ruled for a third time that Harvey’s appeals be dismissed. ECF No. 51.

Because there is no longer an appeal pending, and out of an abundance of caution,


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Rillema files this response to Harvey’s outstanding motions and applications.

Because this case is closed and the matter has been sent to arbitration, the Court

should deny all of Harvey’s pending motions and applications for relief and enjoin

him from making future filings without leave of the Court or until the arbitration

concludes.

   II. BACKGROUND

      Facts and procedural history pertinent to this dispute and the current motion

are set forth in the Court’s order as follows:

      Harvey and Rillema formed 522 Reynolds, LLC (the “Company”) in
      February 2019. They executed an Operating Agreement governing
      the Company (the “Operating Agreement”). The Company owns a
      shopping center at 522-550 Reynolds Road, Toledo, Ohio. On May
      30, 2023, Harvey sued Rillema in the Northern District of Ohio,
      alleging mismanagement of the Company by Rillema. (Harvey v.
      Rillema, N.D. Ohio, No. 3:23-cv-1079, ECF No. 1.) On July 28,
      2023, United States District Judge James R. Knepp II, Northern
      District of Ohio, granted Rillema’s motion to dismiss, without
      prejudice. (Harvey, N.D. Ohio, No. 3:23-cv-1079, ECF No. 15.)
      Judge Knepp determined that the following arbitration clause in the
      Operating Agreement required dismissal of the case before him:

             13. Arbitration
             Any dispute, controversy or claim arising out of or in
             connection with this Agreement or any breach or alleged
             breach hereof shall, upon the request of any party involved, be
             submitted to, and settled by, arbitration in the city in which the
             principal place of business of the Company is then located,
             pursuant to the commercial arbitration rules then in effect of the
             American Arbitration Association (or at any other time or place
             or under any other form of arbitration mutually acceptable to
             the parties involved). Any award rendered shall be final and
             conclusive upon the parties and a judgment thereon may be

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             entered in a court of competent jurisdiction. The expenses of
             the arbitration shall be borne equally by the parties to the
             arbitration, provided that each party shall pay for and bear the
             cost of its own experts, including the attorney’s fees of a party
             if the arbitrator expressly determines that the party against
             whom such award is entered has caused the dispute,
             controversy or claim to be submitted to arbitration as a dilatory
             tactic or in bad faith. (Id.)

      Once the Northern District of Ohio case was dismissed, Rillema
      promptly filed a verified arbitration demand to have Kara Tertzag
      arbitrate the parties’ disputes. (ECF No. 2-5, PageID.257.) Rillema
      also obtained an (undated) order from arbitrator Tertzag granting
      Rillema’s motion for ex parte TRO. (ECF No. 2-6, PageID.265.)
      Harvey contested the arbitration, and Arbitrator Tertzag stayed that
      arbitration proceeding pending a determination whether arbitration is
      appropriate.

ECF No. 21, 9/11/23 Order, PageID.493-495 (emphasis added).

      After noting that Harvey failed to respond to Rillema’s motion to compel

arbitration in this action, this Court cited with approval the Ohio court’s reasoning.

That court relied on the plain language of the arbitration clause and recognized

that, in his complaint in the Ohio action, Harvey failed to allege fraud specific to

the arbitration clause, and thus the provision was valid. ECF No. 21, Order,

PageID.497-498.

      This Court next considered the plain language of the arbitration clause as it

relates to the scope of the agreement to arbitrate and, again quoting the Ohio court,

stated: “An arbitration clause containing the phrase ‘any claim or controversy

arising out of or relating to this agreement’ is considered the paradigm of a broad


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arbitration clause.   Such a clause generally requires arbitration of all claims

touching matters covered by the agreement.” Harvey, N.D. of Ohio, No. 23-1709,

ECF No. 15, PageID.308, quoting Verizon Advanced Data, Inc. v. Frognet, Inc.,

2006 WL 2373265, at *3 (S.D. Ohio) (emphasis added).

      This Court further concluded that “[t]he claims Harvey alleged in the

Northern District of Ohio case, and the issues that Rillema seeks to have arbitrated,

relate to alleged mismanagement of the Company, its funds, and specific violations

of the Operating Agreement by both Rillema and Harvey. Those disputes clearly

‘aris[e] out of or in connection with [the Operating] Agreement . . . .’” ECF No.

21, 9/11/23 Order, PageID.499-500.

      The Court next observed that “Harvey has not offered any reason that his

claims or the matters raised by Rillema in this case are not encompassed by the

language of the arbitration provision,” and further, in his “omnibus motion,”

Harvey in fact moved for an order compelling Rillema to comply with the

arbitration clause. Id., PageID.500, citing ECF No. 17, PageID.451. The Court

also rejected Harvey’s contention that this Court lacks jurisdiction because the

American Arbitration Association determines its own jurisdiction and that Rillema

waived his right to arbitration because Rillema did not adhere to AAA rules,

explaining:

      The Court finds that, when considering the totality of Harvey’s
      arguments and filings, Harvey concurs that this matter should be

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      arbitrated. Harvey mistakenly believes, however, that the parties
      have agreed to have an arbitrator decide the issue of arbitrability.
      Citing Henry Schein v. Archer & White Sales, Inc., –– U.S. ––, 139 S.
      Ct. 524, 529 (2019) (“parties may agree to have an arbitrator decide ...
      gateway questions of arbitrability”). The Arbitration provision of the
      Operating Agreement, however, does not provide for an arbitrator to
      determine arbitrability …. In addition, contrary to Harvey’s
      interpretation, pursuant to the Arbitration provision, a party is not
      “required to file a demand only with AAA.” ….

      Based on the expansive language in the arbitration clause … the Court
      finds all matters alleged by Harvey or asserted by Rillema come
      within the scope of the Arbitration provision.

ECF 21, 9/11/23 Order, PageID.501-502 (emphasis added).

      The Court, therefore, granted Rillema’s motion to compel arbitration,

appointed former Third Judicial Circuit Court Judge David Groner as arbitrator,

denied Harvey’s pending motions as moot, struck Harvey’s motions for sanctions,

stayed the case, and administratively closed the case. Id. at PageID.504.

   III.   ARGUMENT

      Harvey’s pending motions should be denied because this matter is closed

pending the resolution of the pending arbitration. The arbitration has not

concluded, largely because Harvey has refused to participate in the arbitration, and

he refuses to comply with Judge Groner’s orders. To the extent Harvey believes

that he has a right to some form of relief, he can file his motions and applications

with Judge Groner, who has the authority to grant relief in an active arbitration.

Harvey’s relentless filings in this case are both a waste of judicial resources and a


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drain on Rillema’s resources.

   IV.    CONCLUSION

      For the above stated reasons, Petitioner, Kurt Rillema, respectfully requests

the Court to deny Harvey’s motions and enjoin him from filing any further filings

in this case without leave of the Court or until the arbitration has concluded.



                                                  Respectfully submitted,

                                                  PLUNKETT COONEY

                                                  /s/Michael D. Weaver
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Dated: August 22, 2024                            mweaver@plunkettcooney.com


                                          Proof of Service
             The undersigned certifies that on August 22, 2024, a copy of the foregoing
             document was served upon the attorney(s) of record in this matter at their stated
             business address as disclosed by the records herein via:

                Hand delivery                             Overnight mail
             x U.S. Mail                                  Facsimile
             x Email                                      Electronic Filing System

             I declare under the penalty of perjury that the foregoing statement is true to the
             best of my information, knowledge and belief.

                                        /s/ Suzanne Mooney
             ________________________________________________________________
                                      Suzanne Mooney




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